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2    JASON HITT
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     Sacramento, California 95814
4    Telephone: (916)554-2751
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6
                    IN THE UNITED STATES DISTRICT COURT
7
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
8
9
     UNITED STATES OF AMERICA,     )         CASE NO. CR S-05-0496 GEB
10                                 )
                    Plaintiff,     )         STIPULATION AND PROPOSED ORDER
11                                 )         CONTINUING STATUS CONFERENCE
          v.                       )         FOR DEFENDANT ERNESTO AGUILA
12                                 )
     SCOTT ALLEN YARBOROUGH, and   )
13   ERNESTO MANUEL AGUILA,        )
                                   )
14                  Defendants.    )
     _____________________________ )
15
          Plaintiff, United States of America, by its counsel,
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     Assistant United States Attorney Jason Hitt, and defendant
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     Ernesto Manuel AGUILA, by his counsel Johnny L. Griffin, III,
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     hereby stipulate and agree that the status conference currently
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     set for Friday, December 8, 2006, at 9:00 a.m. should be
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     continued to Friday, January 26, 2007, at 9:00 a.m.
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          The requested continuance is based upon the need of defense
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     counsel to meet with his client and discuss the government’s
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     pending plea offer.   Further, defense counsel is currently
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     engaged in a criminal trial before this Court and his
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     availability has been limited by trial commitments.         The parties
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     further agree and stipulate that the period between December 8,
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     2006, and January 26, 2007, should be excluded from computed time
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1    for commencement of trial under the Speedy Trial Act, based upon
2    the interests of justice under 18 U.S.C. § 3161(h)(8)(B)(iv) and
3    Local Code T4, to allow continuity of counsel and reasonable time
4    necessary for effective defense preparation.
5
6                                               Respectfully Submitted,
7                                               McGREGOR W. SCOTT
                                                United States Attorney
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9
     DATED:    December 7, 2006          By:    /s/Jason Hitt
10                                              JASON HITT
                                                Assistant U.S. Attorney
11
12   DATED:    December 7, 2006          By:    /s/Jason Hitt
                                                Telephonically authorized to
13                                              sign for Mr. Griffin on 12-07-
                                                06
14                                              JOHNNY L. GRIFFIN, III., Esq.
                                                Attorney for AGUILA
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1                                        ORDER
2         Based upon the representations and stipulation of counsel,
3    IT IS HEREBY ORDERED that:
4         1.     The Status Conference set for December 8, 2006, at 9:00
5    a.m., is continued to January 26, 2007, at 9:00 a.m.;
6         2.     Based upon the above representations and stipulation of
7    the parties, the court finds that the ends of justice outweigh
8    the best interest of the public and the defendant in a speedy
9    trial.    Accordingly, time under the Speedy Trial Act shall be
10   excluded through January 26, 2007.
11   Dated:    December 7, 2006
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13                                    GARLAND E. BURRELL, JR.
14                                    United States District Judge

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